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                                UNITED STATES DISTRICT COURT
                                                          for the
                                                   District of Colorado

                   United States of America                     )
                              v.                                )
                                                                )
                   LAWRENCE RUDOLPH                             )         Case No. 21-mj-00209-MEH
                                                                )
                          Defendants                            )


                                           CRIMINAL COMPLAINT

                  I, Donald Peterson, the complainant in this case, state that the following is true to the best
         of my knowledge and belief:


                 On or about January 18, 2017, within the State and District of Colorado and elsewhere,
        the defendant LAWRENCE RUDOLPH, having devised and intended to devise a scheme and
        artifice to defraud and to obtain, by means of materially false and fraudulent pretenses,
        representations and promises, money and property, for the purpose of executing such scheme and
        artifice did knowingly deliver and cause to be delivered by means of commercial interstate
        carrier, namely Federal Express, according to the direction thereon, a matter and thing, namely a
        package containing documents related to a claim for life insurance.

                         All in violation of Title 18, United States Code, Sections 1341

                         Code Section                                             Offense Description

                  18 U.S.C. § 1341                                                Mail Fraud

         This criminal complaint is based on these facts:
                  See Affidavit attached hereto and herein incorporated by reference.

                  X Continued on attached sheet.

                                                                          s/ Donald Peterson
                                                                                   Complainant’s signature

                                                                    Donald Peterson, FBI Special Agent
                                                                                  Printed name and title

Sworn to before me and:      signed in my presence.
            submitted, attested to, and acknowledged by reliable electronic means.

Date: 12/16/2021
                                                                                        Judge’s signature
                      Denver, CO
City and state:                                          Hon. Michael E. Hegarty, U.S. Magistrate Judge
                                                                                     Printed name and title
